          EXHIBIT A9




Case 3:23-md-03071   Document 776-16   Filed 02/09/24   Page 1 of 5 PageID #: 14286
           Case 4:21-cv-00196-MWB Document 80 Filed 02/07/22 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE: GEISINGER HEALTH AND                               No. 4:21-CV-00196
 EVANGELICAL COMMUNITY
 HOSPITAL HEALTHCARE                                       (Chief Judge Brann)
 WORKERS ANTITRUST
 LITIGATION

                            CASE MANAGEMENT ORDER

                                      FEBRUARY 7, 2022

          Pursuant to the authority granted to this Court under Federal Rule of Civil

 Procedure 83(b), this Case Management Order shall govern all proceedings in the

 above-captioned case. No deadlines set by this Order, the Local Rules,1 or the

 Federal Rules of Civil Procedure may be altered without this Court’s approval, and

 this Court may modify any deadline sua sponte.

                                           Discovery

     1.    Fact discovery shall be conducted expeditiously and diligently, and shall be

           completed by June 9, 2023. All requests for extensions of any discovery

           deadline shall be made at least fourteen days before the expiration of the

           discovery period.

     2.    Deadline to serve expert reports on all issues on which a party as the burden

           of proof is June 30, 2023.



 1
     The Local Rules are online at http://www.pamd.uscourts.gov/sites/pamd/files/LR120114.pdf,
     and may also be obtained by writing the Clerk of Court, United States Courthouse and Federal
     Building, Suite 218, 240 West Third Street, Williamsport, Pennsylvania, 17701-6460.
Case 3:23-md-03071       Document 776-16        Filed 02/09/24     Page 2 of 5 PageID #: 14287
          Case 4:21-cv-00196-MWB Document 80 Filed 02/07/22 Page 2 of 4




     3.   Deadline to serve opposing expert reports is August 11, 2023.

     4.   Deadline to serve rebuttal expert reports is September 25, 2023.

     5.   Deadline for expert witness depositions is October 23, 2023.

     6.   If a discovery dispute arises, counsel shall electronically docket a letter

          apprising the Court of the dispute’s general contours. Upon receipt of that

          letter, the Court may schedule a conference if necessary. No discovery

          motions may be filed without express permission of the Court.2

     7.   Counsel shall confer within four weeks after the completion of discovery to

          discuss settlement, and shall notify this Court if they would like the

          assistance of a United States Magistrate Judge in conducting a formal

          settlement conference.

     8.   All requests for extensions of any discovery deadline shall be made at least

          fourteen days before the expiration of the discovery period.

                                     Class Certification

     9.   Motions for Class Certification/Daubert motions and supporting brief is to

          be filed by November 20, 2023.

     10. Oppositions to Motions for Class Certification/Daubert Motions are to be

          filed by January 8, 2024.

     11. Replies in support of Motions for Class Certification/Daubert Motions is to

          be filed by January 29, 2024.


 2
     See Federal Rule of Civil Procedure 16(b)(3)(B)(v).
Case 3:23-md-03071       Document 776-16        Filed 02/09/24   Page 3 of 5 PageID #: 14288
           Case 4:21-cv-00196-MWB Document 80 Filed 02/07/22 Page 3 of 4




                                  Miscellaneous Matters

     12.    Motions to seal documents (and the document(s) sought to be sealed) must

            be mailed to, or filed with, the Clerk’s Office in Williamsport. The Court

            will not accept sealed documents filed in Scranton or Harrisburg.

     13.    At any time, if the parties wish to utilize the Court-Annexed Mediation

            Program3 or any other form of alternative dispute resolution, counsel

            should electronically docket a letter expressing this interest and request a

            telephone conference call with the Court.

     14.    Inquiries about this case may be directed to Janel R. Rhinehart, my

            Courtroom Deputy, at 570-323-9772.




 3
     See Local Rules 16.8.1-.7.
Case 3:23-md-03071       Document 776-16    Filed 02/09/24   Page 4 of 5 PageID #: 14289
            Case 4:21-cv-00196-MWB Document 80 Filed 02/07/22 Page 4 of 4




                               Summary of Dates and Deadlines

     Substantial Completion of Production of Structured Data               April 6, 2022
     in Response to Requests for Production served on or
     before 12/1/2021
     Deadline to Begin Rolling Production of Documents in                  May 2, 2022
     Response to Requests for Production served on or before
     12/2/20214
     Substantial Completion of Document Production in                      July 8, 2022
     Response to Requests for Production served on or before
     12/2/2021
     Deadline for Completion of Non-Expert Depositions                     April 7, 2023
     Close of Fact Discovery5                                              June 9, 2023
     Expert reports                                                        June 30, 2023
     Opposing expert reports                                               August 11, 2023
     Rebuttal expert reports                                               September 25, 2023
     Expert Witness Depositions                                            October 23, 2023
     Motions for Class Certification/Daubert Motions and                   November 20, 2023
     supporting briefs
     Oppositions to Motions for Class Certification/Daubert                January 8, 2024
     Motions
     Replies in Support of Motions for Class                               January 29, 2024
     Certification/Daubert Motions




                                                       BY THE COURT:


                                                       s/ Matthew W. Brann
                                                       Matthew W. Brann
                                                       Chief United States District Judge

 4
       A privilege log must be served within 30 days of any production from which documents are
       withheld on the basis of privilege or work-product protection.
 5
       Interrogatories and Requests for Admission, other than those Requests for Admission
       regarding the admissibility of evidence (including authenticity and foundation issues), must
       be served no later than 45 days before this deadline.
Case 3:23-md-03071          Document 776-16        Filed 02/09/24     Page 5 of 5 PageID #: 14290
